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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

UNITED STATES OF AMERICA, ex. rel., :                Case No. 1:14-cv-345
                                    :
VICKI SHELDON,                      :                Judge Timothy S. Black
                                    :
     Relator,                        :
vs.                                  :
                                     :
KETTERING HEALTH NETWORK,            :
                                     :
     Defendant.                      :

   ORDER: (1) DENYING RELATOR’S MOTION TO AMEND (Doc. 14); and
      (2) GRANTING DEFENDANT’S MOTION TO DISMISS (Doc. 8)

       This civil action is before the Court on: (1) Defendant’s motion to dismiss (Doc.

8) and the parties’ responsive memoranda (Docs. 17, 18); and (2) Relator’s motion to

amend (Doc. 14), and Defendant’s responsive memorandum (Doc. 16).

                    I.    FACTS ALLEGED BY THE RELATOR

       For purposes of this motion to dismiss, the Court must: (1) view the amended

complaint in the light most favorable to Relator; and (2) take all well-pleaded factual

allegations as true. Tackett v. M&G Polymers, 561 F.3d 478, 488 (6th Cir. 2009).

       The Relator’s qui tam complaint stems from an alleged breach of privacy relating

to her electronic protected healthcare information (“e-PHI”) and that of two of her family

members. Relator alleges that her husband, Duane Sheldon, a former employee of

Kettering Health Network (“KHN”), began an extramarital relationship with another



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KHN employee. (Doc. 46 at ¶¶ 10-11). 1 Relator alleges that in furtherance of this

relationship, Mr. Sheldon accessed and shared Relator’s e-PHI with others. (Id.) As a

result, Relator alleges that KHN failed to comply with a provision of the Health

Information Technology for Economic and Clinical Health Act (“HITECH Act”) and

violated the False Claims Act (“FCA”) in accepting “Meaningful Use” dollars available

to KHN through the HITECH Act. (Id. at ¶¶ 16, 19).

                                 II.     STANDARD OF REVIEW

          A.     Motion to Dismiss

          A motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) operates to test the

sufficiency of the complaint and permits dismissal of a complaint for “failure to state a

claim upon which relief can be granted.” To show grounds for relief, Fed. R. Civ. P. 8(a)

requires that the complaint contain a “short and plain statement of the claim showing that

the pleader is entitled to relief.”

          While Fed. R. Civ. P. 8 “does not require ‘detailed factual allegations,’ . . . it

demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S.

544 (2007)). Pleadings offering mere “‘labels and conclusions’ or ‘a formulaic recitation

of the elements of a cause of action will not do.’” Id. (citing Twombly, 550 U.S. at 555).

In fact, in determining a motion to dismiss, “courts ‘are not bound to accept as true a

legal conclusion couched as a factual allegation[.]’” Twombly, 550 U.S. at 555 (citing

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    Relator does not allege that she worked at KHN.
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Papasan v. Allain, 478 U.S. 265 (1986)). Further, “[f]actual allegations must be enough

to raise a right to relief above the speculative level[.]” Id.

       Accordingly, “[t]o survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Iqbal, 556 U.S. at 678. A claim is plausible where “plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. Plausibility “is not akin to a ‘probability requirement,’

but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Id.

“[W]here the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the

pleader is entitled to relief,’” and the case shall be dismissed. Id. (citing Fed. Rule Civ.

Proc. 8(a)(2)).

       B.      Motion to Amend

       Rule 15(a)(2) provides that leave to amend should be freely given when justice so

requires. The rule is to be liberally construed in favor of allowing amendments, and

reinforces the principle that cases “should be tried on their merits.” See, e.g., Moore v.

Paducah, 790 F.2d 557, 559 (6th Cir. 1986). Leave to amend should be granted unless

there is “undue delay, bad faith, or dilatory motive … repeated failure to cure deficiencies

by amendments previously allowed, undue prejudice to the opposing party, [] futility of

amendment,” or lack of notice to the opposing party. Foman v. Davis, 371 U.S. 178, 182

(1962).
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                                        III.       ANALYSIS

       The FCA creates civil liability for any person who “knowingly presents, or causes

to be presented” to the Government “a false or fraudulent claim for payment or

approval.” United States ex rel. Hobbs v. Medquest, 711 F.3d 707, 713 (6th Cir. 2013)

(quoting 31 U.S.C. § 3729(a)). A relator must have “personal knowledge of the facts

relating to the alleged scheme or fraud against the government in order to bring a

lawsuit.” Kinney v. Stoltz, 327 F.3d 671, 674 (8th Cir. 2003). This requirement serves

the underlying purpose of the FCA, which is “to encourage individuals who are either

close observers or involved in the fraudulent activity to come forward…[the FCA] is not

intended to create windfalls for people with secondhand knowledge of the wrongdoing.”

Id. (concluding that the plaintiff did not have “direct knowledge” of the allegations and

was “neither involved in nor a close observer of the alleged illegal act,” so his claim was

not permitted under the FCA).

       Federal courts do not have jurisdiction over an action based upon public disclosure

of allegations or transactions unless the person bringing the action “is an original source

of the information.” 31 U.S.C. § 3730(e)(4). A person is the original source when she

has “direct and independent knowledge of the information” which formed the basis of the

allegations. Id. The qui tam provision of the FCA and its potential for large cash awards

was designed to incentivize participants in the false claim, i.e., the people with sufficient

knowledge of the scheme’s details, to come forward. Id. If a putative relator does not


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know the specifics of the FCA claim, she cannot allege a valid cause of action, and is not

a proper relator. Id. 2

        The HITECH Act imposes stringent federal protections on the privacy and

security of healthcare data. The HITECH Act established incentive payments for the

meaningful use of certified electronic health record (“HER”) technology by eligible

professionals and eligible hospitals participating in the Medicare program. 42 C.F.R.

§ 495.4.

        A.      Motion to Amend

        Defendant filed a motion to dismiss on November 12, 2014. (Doc. 8).

Subsequently, the Relator filed a motion for leave to file a second amended complaint

(Doc. 14), which would purportedly cure the deficiencies alleged in the motion to

dismiss. This Court must resolve the motion to amend before it determines whether the

motion to dismiss is moot. When a motion to amend only addresses a discrete issue, it

may not moot the underlying motion to dismiss. In Re: GI Holdings, 122 F. App’x 554,

556 (3rd Cir. 2004). 3



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  The policy behind the qui tam provision is to provide “adequate incentives for whistle-blowing
insiders with genuinely valuable information,” United States ex rel. Poteet v. Medtronic, Inc.,
552 F.3d 503, 507 (6th Cir. 2009), which is why “[t]he archetypal qui tam False Claims Act
action is filed by an insider at a private company[.]” United States ex rel. Compton v. Midwest
Specialties, 142 F.3d 296, 303 (6th Cir. 1998).
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  See, e.g., Pethtel v. Washington County Sheriff’s Office, No. 2:06cv799, 2007 U.S. Dist. LEXIS 60105,
at *2 (S.D. Ohio Aug. 16, 2007) (the amended complaint was substantially identical to the original
complaint where the amended complaint merely designated additional parties and did not attempt to cure
the alleged defects in the original complaint).

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         In Count I, the Relator asserts a claim for violation of the FCA, because KHN

allegedly “violated [the] HITECH Act, when it failed to protect the privacy of Relator

Vicki Sheldon…and falsely certified to the United States Government that it had

complied with the HITECH Act to collect ‘Meaningful Use’ monies.” (Doc. 4 at ¶ 24).

Specifically, the Relator alleges that KHN did not satisfy the HITECH requirements set

forth at 45 C.F.R. §§ 164.308 and 164.312(a), which, as set forth below, require covered

entities to implement policies and procedures to protect e-Phi. (Id. at ¶ 25). Because a

claim stemming from a violation of the FCA is essentially a claim of fraud, the Relator

must “allege the circumstances surrounding the fraud with particularity as required by

Rule 9(b).” Walburn v. Lockheed Martin Corp., 431 F.3d 966, 972 (6th Cir. 2005). At a

minimum, the Relator “must allege the time, place, and content of the alleged

misrepresentation…; the fraudulent scheme; the fraudulent intent of the defendants; and

the injury resulting from the fraud.” United States v. Marlar, 525 F.3d 439, 444 (6th Cir.

2008).

         Pursuant to 45 C.F.R. § 164.308, entities such as hospitals are required to

“[i]mplement policies and procedures to prevent, detect, contain, and correct security

violations.” 45 C.F.R. § 164.308(a)(1)(i). The regulations also set forth four specific

requirements, or “Implementation Specifications,” that covered entities must follow:

   • Conducting an accurate and thorough assessment of the potential risks and
     vulnerabilities to the confidentiality of e-PHI;

   • Implementing security measures specific to reduce risks and vulnerabilities;

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    • Applying appropriate sanctions against workforce members who fail to comply
      with security policies and procedures; and

    • Implementing procedures to regularly review records of information system
      activity.

Id. at § ii.

        The second regulation that KHN is alleged to have violated, 45 C.F.R. § 164.

312(a), entitled “Technical Safeguards,” also sets forth four implementation

specifications for compliance under the Act:

    • Assigning a unique name and/or number for identifying and tracking the identity
      of individuals accessing the medical records system;

    • Establishing procedures for obtaining e-Phi during an emergency;

    • Implementing procedures that terminate an electronic session after a period of
      inactivity; and

    • Implementing a mechanism for encrypting and decrypting e-Phi.

45 C.F.R. § 164.312(a)(2).

        Both regulations set forth requirements that relate to systemic measures that

healthcare providers should take to increase the security of e-PHI. There is no case law

that suggests that an isolated privacy breach or discrete series of related breaches

constitute a violation of the HITECH Act. Moreover, the Relator fails to allege that KHN

failed to implement policies and procedures to address various security risks.

        Count II, while it is brought as a separate cause of action, appears to assert the

same legal claim as Count I – that KHN committed fraud by falsely certifying that it

complied with the HITECH Act and accepting Meaningful Use dollars from the
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government. (Doc. 4 at ¶¶ 30-31). The sole distinction appears to be Relator’s additional

reliance on subsection (b) of 45 C.F.R. § 164.312, which provides that a covered entity

must: “[i]mplement hardware, software, and/or procedural mechanisms that record and

examine activity in information systems that contain or use electronic protected health

information.” Relator alleges that KHN falsely certified that it met this objective. (Doc.

4 at ¶¶ 30-31). However, this allegation directly contradicts other allegations set forth in

the Amended Complaint (“AC”) – such as Relator’s acknowledgements that KHN

implemented the EPIC system and quickly identified the privacy breach that occurred

with respect to Relator’s e-PHI.

       The only example of KHN’s alleged failure to comply with the requirement to

“implement hardware, software, and/or procedural mechanisms that … examine activity

in information systems” containing e-PHI is Realtor’s claim that KHN did not routinely

run a particular type of CLARITY report on a weekly or monthly basis. (Doc. 4 at ¶ 32).

However, this allegation is rooted in unfounded notions that: (1) the HITECH Act

required KHN to run a particular type of CLARITY report; and (2) simply because KHN

did not provide the Relator with the specific type of CLARITY report, KHN was not

properly monitoring its e-PHI System. The HITECH Act requires hospitals to implement

a system to protect e-PHI; it does not require covered entities to use a particular e-PHI




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product or vendor or to run a specific type of monitoring report. 4

        The new factual allegations in Relator’s proposed Second Amended Complaint

(“SAC”) include the identification of a “team” of four KHN employees, who are alleged

to have “participated” in KHN’s certification that it complied with the HITECH Act.

(Doc. 14-1 at ¶ 24). However, the SAC does not articulate the factual basis for Relator’s

apparently newly formed “belief” that these individuals were involved in the certification

process, other than to identify the alleged job titles of such individuals. The proposed

amendments fail to provide any factual basis to support Relator’s claim that these

individuals were somehow involved in the scheme. Additionally, none of the newly

alleged facts remedy Relator’s failure to allege facts to establish an actual violation of the

HITECH Act.

        Specifically, the SAC does nothing to remedy the following flaws: (1) the Relator

does not identify when the allegedly fraudulent HITECH certifications were made;

(2) the Relator does not allege that the person making the HITECH certifications had

actual knowledge of its falsity at the time it was made; (3) the Relator does not allege a

single violation of the HITECH Act and relatedly does not cite to a single regulation that

requires hospitals to purchase EPIC software or subscribe to its trademarked CLARITY


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 In case of a security breach, KHN is required to provide Realtor with the following: (1) a description of
what happened, including the date of the breach and the type(s) of unsecured PHI that was involved; (2)
any steps the individual should take to protect him/herself; (3) a brief description of what the covered
entity is doing to investigate the breach and protect against any further breaches; and (4) contract
procedures for the individual to ask questions or learn additional information. 45 C.F.R. § 164.404(c).
There was no requirement that KHN provide any particular type of report, CLARITY or otherwise.

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analytics service; and (4) the Relator does not allege that any violation of the HITECH

Act (or even any isolated privacy breach) predated KHN’s alleged “meaningful use”

certification. Additionally, the Relator does not allege and therefore has failed to

establish personal knowledge of: (1) KHN’s system for storing, securing, or monitoring

of electronic healthcare information (e-PHI); (2) the specific manner in which KHN

failed to meet the requirements of the HITECH Act; (3) other incidents in which other

patients’ e-PHI was compromised; or (4) the details surrounding KHN’s alleged

misrepresentation to the government of its compliance with the HITECH Act.

       In sum, Plaintiff simply alleges that KHN violated the HITECH Act because one

of its employees (her estranged husband) accessed her family’s medical records.

Accordingly, Plaintiff fails to state a claim; and Relator’s motion to amend is denied, as

an amendment would be futile.

       B.     Motion to Dismiss

              1.     KHN’s violation of the HITECH Act

       Relator fails to allege any personal knowledge of KHN’s failure to comply with

the HITECH Act. Rather, she infers that KHN failed to comply with the HITECH Act.

       As discussed in Section III.A, the Relator identifies two regulations promulgated

under the Health Insurance Portability and Accountability Act (“HIPPA”), which were

amended by the HITECH Act, that KHN is alleged to have breached. These regulations

relate to the implementation of administrative and technical safeguards designed to

prevent, detect, and contain security violations. See, e.g., 45 C.F.R. §§ 164.308(a)(1)(ii);
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164.132(a)(2). The AC does not include factual allegations to establish that KHN failed

to meet any of these objectives. Instead, the Relator’s claim is based upon an allegation

that KHN violated some unspecified regulation because it allegedly: “failed to run reports

designed to protect information, [and that] the lack of proper reports … allow[s] the

strong inference that KHN has not, in fact, implemented policies and procedures designed

to protect electronic private health information.” (Doc. 17 at 5). However, Relator fails

to allege that KHN did not run reports to detect possible data breaches; instead, the AC

simply presumes that KHN failed to run “proper” reports. (Doc. 4 at ¶ 17). The

inference Relator has drawn, that KHN violated the HITECH Act, is based upon the

Realtor’s presumption that KHN failed to run these reports.

           In fact, the AC indicates that KHN provided the Relator with a detailed report of

the suspected security breach. (Doc. 4 at ¶ 18). The Relator wanted a “CLARITY”

report (Id. at ¶ 16-18), despite the fact that she now concedes that the HITECH Act does

not require KHN to run or provide a CLARITY report. (Doc. 17 at 2). The Relator

claims that the onus was on KHN to prove that it complied with the HITECH Act. (Id. at

5). However, she offers no law to support such an argument. 5

           Next, Relator argues that KHN violated the HITECH Act because “Plaintiff-

Relator’s information was breached and not detected, even though, when run properly,

and properly implemented, a policy and procedure would have provided early detection




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    In fact, all of the Realtor’s filings lack case law to support her arguments.
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of the breach.” (Doc. 17 at 6). However, this argument is contradicted by the facts

alleged in the AC (and proposed SAC):

          • KHN “bought and implemented a computer software system…for the
            purpose of maintaining electronic medical information…and protecting
            medical information from unapproved personnel.” (Doc. 4 at ¶ 7).

          • KHN informed Relator that there appeared to have been a privacy breach
            relative to her e-PHI. (Doc. 4 at ¶ 16).

          • KHN conducted an investigation into the breach. (Doc. 1, Ex. A).

          • KHN prepared (and provided to Relator) audit reports detailing the
            instances in which her information was accessed. (Doc. 1, Ex. A).

          • KHN notified the Department of Health and Human Services of the
            incident. (Doc. 1, Ex. A).

These claims simply do not allege sufficient facts to state a violation of the HITECH Act.

              2.     Personal knowledge of KHN’s “false claim” to the government

       The HITECH ACT requires the implementation of “policies and procedures to

prevent, detect, contain and correct security violations.” 45 C.F.R. § 164.308(a)(1)(i).

The Relator states that KHN implemented some “software” created by a company named

EPIC, but she does not allege any additional details. (Doc. 4 at ¶¶ 6-7). Where, as here,

“a relator alleges a ‘complex and far-reaching fraudulent scheme,’ in violation of [the

FCA], it is insufficient to simply plead the scheme[s]; he must also identify a

representative false claim that was actually submitted to the government.” Chesbrough v.




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VPA P.C., 655 F.3d 461, 470 (6th Cir. 2011). 6 While the Relator is not required to

identify every false claim allegedly submitted for payment, she must identify with

specificity examples that are illustrative of the class of all claims covered by the

fraudulent scheme. Id. Relator has not alleged facts to support her claim that KHN’s

security policies and procedures are insufficient.

        Relator alleges that she has adequate knowledge of KHN’s false claim because of

her “own individual experiences” with her husband’s alleged unauthorized access to her

e-PHI. (Doc. 17 at 2). However, Relator’s claim cannot be based on her husband’s

allegedly unauthorized access to her medical records, because the FCA is not concerned

with any injury to a private party, including the Relator. The only wrongdoing that is

actionable is a false claim made to the government in furtherance of receiving meaningful

use money from the government. 31 U.S.C. § 3729(a)(1)(B) (“The FCA only imposes

liability on a person who ‘knowingly makes, uses, or causes to be made or used, a false

record or statement to get a false or fraudulent claim’ paid or approved by the

Government.”). As with all FCA claims, the government is the potential victim, not the

relator. Clausen v. Lab. Corp. of Am., 290 F.3d 1301, 1313 n. 24 (11th Cir. 2002)

(explaining that an FCA relator only acts on behalf of the “real victim, the

Government.”). Relator does not allege that she was an employee of KHN, and she has


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  Relator is required to alleged facts such as: “(1) precisely what statements … or what omissions were
made, and (2) the time and place of each such statement and the person responsible for making (or in the
case of omissions, not making) same, and (3) the content of such statements and the manner in which they
misled the [government], and (4) what the defendants obtained as a consequence of the fraud.”
Sanderson v. HCA-The Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006).
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admitted that she has no first-hand knowledge of key information necessary to support

her RCA claim. (Doc. 10 at 2). 7 Therefore, the Relator’s FCA claim fails as a matter of

law.

                 3.      Res Judicata

        Finally, even if Relator’s claim did not fail as a matter of law, it is barred by the

doctrine of res judicata.

        This is not the first lawsuit that Relator has brought based upon the same set of

facts. Relator filed a similar action in the Court of Common Pleas, in Montgomery

County, Ohio. Sheldon, et al v. Kettering Adventist HealthCare, et al., 2014-cv-3304

(Montgomery County C.C.P.). 8 In that action, Relator brought several tort claims, all

relating to her ex-husband’s allegedly unauthorized access to her medical records. As in

this case, Relator claimed that KHN: (1) wrongfully failed to run CLARITY reports;

(2) violated the HITECH Act; and (3) improperly accepted Meaningful Use funds from

the government. (Doc. 8, Ex. A at ¶¶ 15-17).

        “Where…federal and state actions have proceeded simultaneously, the first

judgment entered must be regarded as res judicata for issues in the remaining case.”

Childs v. Van Wert Cnty., No. 91-3138, 1992 U.S. App. LEXIS 6297, at *13 (6th Cir.

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  While Realtor seeks to amend her complaint to identify various individuals whom she believes may
have made the misrepresentations, the proposed SAC does not include any other factual detail to establish
that she has actual knowledge that these individuals were involved in making the alleged
misrepresentations.
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  Judge O’Connell, of the Montgomery County Court of Common Pleas, recently dismissed Sheldon’s
state court action in its entirety, finding that the complaint failed to state a claim upon which relief could
be granted. (Doc. 8, Ex. B).
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Mar. 30, 1992) (“Where…federal and state actions have proceeded simultaneously, the

first judgment entered must be regarded as res judicata for issues in the remaining

case.”). The doctrine precludes not only re-litigating a claim previously adjudicated; but

also, “litigating a claim or defense that should have been raised, but was not, in the prior

suit.” Mitchell v. Chapman, 343 F.3d 811, 819 (6th Cir. 2003).

       The factual allegations in this case are nearly identical to those underlying the

state court action, and, accordingly, Relator was required to bring her current claims as

part of that earlier legal action. Therefore, because the Ohio court entered judgment first

(see Sheldon v. Kettering Adventist Healthcare, Montgomery County, No. 2014cv3304

(Oct. 21, 2014)), Relator’s federal court action, which is based upon and arises from the

same set of facts, is barred by the doctrine of res judicata.

                                      IV.    CONCLUSION

       Accordingly, for the reasons stated here:

       (1)     Relator’s motion to amend (Doc. 14) is DENIED; and

       (2)     Defendant’s motion to dismiss (Doc. 8) is GRANTED.

The Clerk shall enter judgment accordingly, whereupon this case shall be CLOSED in

this Court.

       IT IS SO ORDERED.

Date: 1/6/15                                                /s/ Timothy S. Black
                                                          Timothy S. Black
                                                          United States District Judge



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